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UNITED STATES DISTRICT COURT ` .‘j 33

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
v.

SLAVCO IGNJATOV,
VALENTINO HRISTOVSKI,
DJORDJE KARAC, and
FNU LNU,

aka “BOSS,"

aka “bman,"

aka “Superman, ”

aka “Super?,”

aka “Xxxghost,”

Defendants.

 

 

 

 

The Grand Jury Charges:

A. OBJECTS OF THE CONSPIRACY

 

June 2017 Grand Jury

EDCR 17»222[A)~JGB

[21 U.S.C. § 846: Conspiracy to
Distribute and Possess with Intent
to Distribute Cocaine]

[21 U S.C. § 346]

Beginning on a date unknown and Continuing until en Or about

October 23, 2017, in Los Angeles County, Riverside County, and San

Barnardino County, within the Central District Of California, and

elsewhere, defendants SLAVCO IGNJATOV (“IGNJATOV”), VALENTINO

HRISTOVSKI (“HRISTOVSKI”) ,

DJORDJE KAR_AC (“KARAC”) , and FNU LNU, alSO

 

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known as (“aka”) “Boss,” aka “bman,” aka “Superman,” aka “Super?,”
aka “Xxxghost” (“BOSS”), two un~indicted Co-conspirators (“Co~
Conspirator One” and “Co~Conspirator Two”), and others known and
unknown to the Grand Jury, conspired and agreed with each other to
knowingly and intentionally distribute and possess with intent to
distribute at least five kilograms of a mixture and substance
containing a detectable amount of cocaine, a Schedule II narcotic
drug controlled substance, in violation of Title 21, United States
Code, Sections 841(a}(l) and (b)(l)(A)(ii)(II}.

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished, in
substance, as follows:

l. Defendant BOSS would coordinate the transportation of
cocaine from the Central District of California to other states and
to Canada for further distribution.

2. Defendant IGNJATOV, who owned a trucking company called Bo-
mak Express Inc. (“BO-MAK”), would provide drivers for the
transportation of cocaine from the Central District of California to
other states and to Canada for further distribution.

3. Co-Conspirator One and other un~indicted co-conspirators
would arrange for the delivery of cocaine to drivers provided by
defendant IGNJATOV, including defendant KARAC.

4. Defendant KARAC, using a BO~MAK truck, would pick up
cocaine from Co-Conspirator One and other un~unindicted co-
conspirators, and then transport the cocaine to other states and to

Canada for further distribution.

 

 

 

 

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5. Co-Conspirator Two, acting at the direction of defendant
BOSS, would deliver money to Co-Conspirator One as payment for CoH
Conspirator One's participation in the distribution of cocaine.

6. Defendants IGNJATOV and HRISTOVSKI, using a BO~MAK truck,
would conduct “dry runs” (i;§;} transport legal substances instead of
cocaine) on the routes used by their co-conspirators to transport
cocaine to determine whether law enforcement knew of the means and
methods used by the conspiracy to transport cocaine.

7. Defendants HRISTOVSKI, KARAC, and BOSS, and Co~Conspirator
One would possess encrypted Blackberry devices for the purpose of
securely communicating with other co-conspirators.

C. OVERT ACTS

In furtherance of the conspiracy and to accomplish its objects,
on or about the following dates, defendants IGNJATOV, HRISTOVSKI,
KARAC, and BOSS, Co~Conspirator One, Co-Conspirator Two, and others
known and unknown to the Grand Jury, committed various overt acts in
Los Angeles County, Riverside County, and San Bernardino County,
within the Central District of California, and elsewhere, including,
but not limited to, the following:

l. On March ll, 2017, in Port Huron, I*'§[ichiganir defendant KARAC
entered the United States from Canada, driving a BO-MAK truck (the
“First BO-MAK Truck”), to pick up cocaine from Co-Conspirator One.

2. On March 16, 2017, in Mira Loma, California, Co-Conspirator
One met with defendant KARAC, who was driving the First BO-MAK Truck,
and gave defendant KARAC ten duffle bags, containing approximately
193.7 kilograms of a mixture and substance containing cocaine, which

defendant KARAC loaded into the First BO~MAK Truck.

 

 

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3. On March 16, 2017, in Chino, California, defendant KARAC
possessed approximately 193.7 kilograms of a mixture and substance
containing cocaine and an encrypted Blackberry device in the First
BO»MAK Truck, both of which were seized by law enforcement (the
“March 16 seizure”).

4. On March 19, 2017, using coded language during a recorded
telephone conversation, defendant KARAC advised defendant IGNJATOV
that a drug~detection police dog alerted to the First BO-MAK Truck at
the time of the March 16 seizure, to which defendant IGNJATOV replied
that defendant KARAC likely had been set up.

5. On March 22, 2017, using coded language during a recorded
telephone conversation, defendant IGNJATOV told defendant KARAC that
defendant IGNJATOV found approximately $1,450 in defendant KARAC's
jacket, which had been left behind in the First BO~MAK Truck, and
stated that, when law enforcement entered the truck, they knew what
they were looking for.

6. On March 22, 2017, using coded language during a recorded
telephone conversation, defendant IGNJATOV informed defendant KARAC
that defendant KARAC likely would receive a beating for being in
possession of the cocaine at the time of the March 16 seizure.

7. On March 19, 2017, using coded language during an in~person
conversation, Co-Conspirator One told an individual he believed to be
a co-conspirator, but who was, in fact, a confidential source working
at the direction of the Federal Bureau of Investigation (“FBI”), that
they (Co~Conspirator One and others) needed to do a “dry run” using
flour or a similar substance.

8. On March 21, 2017, in Ontario, California, defendant
IGNJATOV picked up the First BO~MAK Truck from a towing company that

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stored the truck after it had been impounded by the Fontana Police
Department following the March 16 seizure.

9. On April 21, 2017, using coded language in a series of
encrypted Blackberry messages, defendant BOSS and Co-Conspirator One
discussed the need to conduct several “dry runs” before resuming the
transportation of cocaine to determine whether law enforcement was
aware of the methods, means, and persons used by the conspiracy to
transport cocaine.

10. On April 25, 2017, using coded language in an encrypted
Blackberry message, Co~Conspirator One informed defendant BOSS that
he (Co~Conspirator One) had conducted a successful dry run without
being intercepted by law enforcement, but that he (Co-Conspirator
One) wanted to conduct additional dry runs to ensure the
transportation routes were safe before resuming the transportation of
cocaine.

ll. On May 6, 2017, using coded language in an encrypted
Blackberry message, Co~Conspirator One informed defendant BOSS that
he (Co~Conspirator One) had completed another successful dry run.

12. On May 15, 2017, using coded language in an encrypted
Blackberry message, defendant BOSS told Co-Conspirator One, who
unbeknownst to defendant BOSS was now cooperating with law
enforcementl that, before resuming the transportation of cocaine, he
(defendant BOSS] wanted to see whether federal prosecutors would
charge defendant KARAC for transporting approximately 193.7 kilograms
of cocaine on March 16, 2017.

13. On May 20, 2017, using coded language in an encrypted
Blackberry message, defendant BOSS told Co~Conspirator One, who
unbeknownst to defendant BOSS was now cooperating with law

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enforcement, that defendant IGNJATOV wanted to resume cocaine
shipments in the near future, but that he (defendant BOSS) still was
waiting to see whether defendant KARAC would be charged federally for
the March 16 seizure.

14. On May 28, 2017, using coded language in an encrypted
Blackberry message, defendant BOSS told Co-Conspirator One, who
unbeknownst to defendant BOSS was now cooperating with law
enforcement, that it did not appear that federal charges would be
filed against defendant KARAC and he (defendant BOSS) planned to
resume cocaine shipments in the near future.

15. On June 11, 2017, in Los Angeles, California, Co-
Conspirator Two met with an individual he believed to be Co-
Conspirator One, but who was, in fact, an undercover law enforcement
officer (the “UC”), and gave the UC approximately $20,000 on behalf
of defendant BOSS as payment for Co-Conspirator One's participation
in the delivery of cocaine to defendant KARAC on March 16, 2017.

16. On October 20, 2017, in Port Huron, Michigan, defendants
IGNJATOV and HRISTOVSKI entered the United States from Canada,
driving a BO-MAK truck (the “Second BO-MAK Truck”)r to conduct a dry
run on the route that defendant KARAC previously used to transport
cocaine.

l7. On October 23, 201?, in Mira Loma, California, while
conducting a dry run on the route that defendant KARAC previously
used to transport cocaine, defendants IGNJATOV and HRISTOVSKI met
with an unidentified co~conspirator, who gave defendants IGNJATOV and
HRISTOVSKI a duffle bag containing approximately 60 pounds of sugar,
which defendants IGNJDTOV and HRISTOVSKI loaded into the Second BO~

MAK Truck.

 

 

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18. On October 23, 2017, in Fontana, California, while
continuing to execute the dry run, defendants IGNJATOV and HRISTOVSKI
drove to the same restaurant parking lot where defendant KARAC
previously had stopped while transporting cocaine.

19. On October 23, 2017, in Fontana, California, defendant

HRISTOVSKI possessed an encrypted Blackberry device in his pocket.

A TRUE BILL

/:§/

Foreperson

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United States Attorney

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